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                               UNITED STATES BANKRUPTCY COURT
                                  DISTRICT OF MASSACHUSETTS
                                             (Eastem Division)

            In re:
                                                                  ChzptetT
           ,{,NDRE BIS,{SOR,
                                                                 No. 15-13369-JNF
                                             Debtor.

                            CHAPTER 7 TRUSTEE'S APPLICATION FOR
                        COMPENSATION AND REIMBURSEMENT OF EXPENSES

          Pursuant to sections 326 and 330 of the United States Bankruptcy Code, 11 U,S.C. $ 101 et

ra4., Rule 2076      of the Federal Rules of Bankruptcy Procedure and MLBR 201,6-7,JohnJ. Aquino,

the Chapter 7 trustee (the "Trustee") of Andre Bisasor, the debtor herein (the "Debtor") hereby

submits this application fot compensation and reimbursement for expenses for services provided              as


Chapter 7 trustee, In support of this application, the Trustee respectfully states the following:

                                                Bacþround

          1.         On August 27,201,5 (the "Petition Date"), the Debtor commenced this case by frling

a   voluntary petition fot telief under Chaptet 73 of the Bankruptcy Code, 11 U.S.C.   SS 101 er seq.      (the

"Bankruptcy Code) in the United States Bankruptcy Court for the District of Massachusetts. On

January 6,2076 (the "Convetsion Date"), the Debtor's Chapter 13 case \vas converted to            c   se
                                                                                              ^
under Chaptet 7 of the Bankruptcy Code. Thereafter, the Trustee was appointed Chapter 7 trustee

by the United States Trustee for the District of Massachusetts and the Trustee continues to sewe in

that capacity.

                                            Services Rendered

         2.          On November 77,2076, the Trustee conducted the initial meeting of the Debtot's

cteditots (the "341 Meeting"), at which the Debtor appeared with counsel and submitted to an

examination undet oath by the Trustee. Based upon the information in the Debtor's schedules and

Statement of Financial Affaits, as well as his testimony at the 347 Meeting, the Trustee identified
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 three potential sources of recovery for the estate, all of which related to pre-petition tort and

 contract claims asserted by the Debtor against nearly 40 individuals, corporations and institutions,                      as


 more particularly described below.

             3,      ,{s of the Petition Date, the Debtor was            a   litigant in the following proceedings,

pending in various Massachusetts stâte courts as well as the United States District Cout for the

District of Massachusetts:

A.    Defamation/Cvber Bullvins/Discrimination Claims

             4,      The Debtor was the plaintiff in an action commenced in Suffolk County Superiot

Coutt styled Andre Bi¡a¡or      u S/auenskoj et   a/., Civtl..A.ction 14-3606C (the 'Suffolk County            Action"). In

the Suffolk County Action, the Debtor assetted claims against 77 telated defendants, including

F{,award Univetsity, arising out of actions and conduct that allegedly took place while the Debtor

was a student at the l{award University Extension School. The Debtor alleged numerous violations

of his dghts and other tort and contract claims, including defamation; tacial discrimination;

harassment; hostile environment based upon religion; violations of Tide IX; tetaliation; breaches                         of

implied contract and impüed covenant of good faith and fau dealtng; unfair and deceptive practices

in violation of M,G,L. ch. 934; unjust entichment; state and federal civil dghts violations; civil

conspiracy; invasion of privacy; interference with contract and advantzgeous telations; bullying,

cybet bullying, cybet hatassment andf ot cyber stalking; and intentional infliction of emotional

dis tres s   (collectively, the "D e famation/ Dis cdmination Claims ").

B.    Loss of Consortium Claim

             5.     The Debtor was also the plaintiff in an action commenced in Norfolk County

Supedor Court styled Andre Bi¡asor        u Rooseuelî, et   a/., Civtl   Action    'l
                                                                                        5-01 394 (the   "Norfolk County

Action') in which the Debtor        asserted claims against his wife's former employer, Network Health,

Inc., and 19 related defendants for loss of consortium which resulted ftom the alleged unlawful

tetmination of the Debtot's wife by her employer (the "Loss of Consortium Claim").
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 C    Landlord Tenant Dispute

            6,       As of the Petition Date, the Debtot and his wife were defendants and counter-

 claimants in several litigation matters involving Greystar Management Services L.P., as agent for

 RAR2-Jefferson (the "Landlord"), the ownet of the residential                  complex located at
                                                                    ^p^rtment
 Presidents !Øay, Dedham, Massachusetts (the "Dedham          Propety"). Ar of the Petition Date, the

 matters wete pending in multiple judicial depatments and venues, including t}.e Massachusetts

 Appeals Court (Dockets 2015 P 1793,2075 P 1194 and 2075J 0306); the Massachusetts Supreme


Judicial Court @ocket 5JC11,942 and Docket SJ-2015-0347); Massachusetts,{.ppellate Division

 pocket           ADMS ó0010 and Docket
                                                 '{DMS 60011); Federal District Court @ankruptcy
             15                             15

Appeals) (Docket 1:15-cv-13813-LTS and 1:15-cv-1,3964-LTS); Fedetal District Court (Docket 1:15-

cv-13656-JGD); Massachusetts Superior Court Norfolk County (Docket 1582 CV001,9); and

Dedham District Court (Dockets #1554-SU-0026 &. #1554-SU-0028) (collectively, the Landlord-

Tenant Matters). The Landlotd asserted claims against the Debtor and his non-debtor spouse for

alleged non-Pâyment of rent of leased premises at the Dedham Property. In response, the Debtor

and his wife assetted affirmattve defenses as well as counter-claims against the Landlord for

numerous alleged violations, including, without limitation, claims fot rctahaiion, breach of contract,

breach of wznanS of habitability, intentional infliction of emotional disuess, unfair and deceptive

business ptactices, as well as alleged violations of the Fair Debt Collection Practices   Act, the Federal

Fair Housing Act and Amedcans \X/ith Disabilities Act (collectively, the "Landlord-Tenant

Mattets"),

        7   .       Following the 347 Meeting, the Trustee, with the assistance of his counsel,

endeavoted to evaluate the likelihood of success of the claims descdbed above. The actions, all      of

which were fi-led pro se, wete fact-intensive and extensively detailed. By way of example, the

complaint in the Suffolk County State Court Action consisted of 366 patagraphs covering 31 single

spaced pages. Following a thorough review, the Trustee determined that the
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 Defamation/Discrimination Claims and the Loss of Consortium Claims were of inconsequential

 value to the estate. ,{.s a result, the Trustee filed Noficr.¡    of Inîent to Abandon   the claims asserted in the

 Suffolk County ,A.ction and the Notfolk County Action on Novemb er 9,2076 and March 2,2077                         ,


 tespectively.

           8.       \X/ith tespect to the Landlord-Tenant Matters, the Debtor, his non-debtor spouse,

 and the Landlord engaged in settlement discussions priot to the appointment of the Trustee.

 Subsequent to his appointment, the Trustee entered into negotiations with the Landlord with

respect only to the estate's interest in the Debtor's claims against the Landlord and the Landlord's

claims as against the     Debtorl. As a result of       the aforesaid negotiations, the Trustee and Landlord

enteted into a settlement âgreement, subject to approval of the Court. Under the terms of the

agreement, the Landlotd agreed to make                paymerú to the estate in the amount of $20,000 in full
                                                  ^
and final settlement of all mattets arising out the Debtor's tenancy at the Dedham Property,

including any claims the Landlord may have had for back              rent. The Trustee's      counsel memodalized

the tetms of the compromise by draftin g an Agreement Of S erilenenr And Re/e¿re. Following execution

by the parties, the Trustee fiIed      a Motion Þ-or   Entry Of Order Approuing Agreement Of S etîlenent (the

"Motion To A,pprove") with the Bankruptcy Court onJuly 27,2017. No objections to the Motion

To Approve were teceived by the Trustee or filed pdor to the deadline established by the Coutt.

Accordingly, the Court entered an Otdet apptoving the settlement on August 29,2077                     .   Thereafter,

the Landlord delivered the $20,000 settlement payment to the Trustee.

          9,       In addition to the foregoing, the Trustee monitored a progressively contentious fee

dispute between the Debtor and his fotmet counsel. The matter began with a filing by the Debtor

of a notice of intent to object to his former counsel's fee application, followed by seven motions to

extend the deadline fot filing such objection. In response, the debtor's former attorney filed a




1   Upon information and belief, the Debtor's spouse and the Landlord entered into a separate agreement relating to the
claims between them.
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motion to extend the deadline for discharge objections, and subsequently commenced an advercary

proceeding in which he sought a determination by the Coutt that his fees     fot   services rendeted   in

the Chapter 13 case were non-dischargeable. The Trustee filed multiple pleadings for the purpose            of

cladfying the scope/priority of the estate's responsibiliLy for payment of setvices tendeted by the

former counsel during the pendency of the Chapter 13 case.

        10.     In addition to the foregoing, following the deadline for filing of proofs of claim in

the case, the Trustee reviewed all claims filed and detetmined that no objections wete merited. The

Trustee also fulfilled his fiduciary duties by reconciling bank accounts, preparing interim status

reports on the Debtor's case for the office of the United States Trustee, and preparing the Final

Account Before Distribution, Ftled hetewith.

        11.     The Trustee's time charges for his services in this case total 17.20 houts from the

Petition Date through the date hereof. Based upon â lodestar calculation, the Trustee's sewices

amount to $5,160.00. The maximum allowable statutory commission pursuant to sections 326 and

330 of the Bankruptcy Code ts ff1,,477   .77.   The Trustee also seeks reimbursement of out-of-pocket

expenses   in the amount of $112.08. In accordance with MLBR       201,6-7, a detailed itemization and


summary of the services ptovided by the Ttustee is attached heteto.

        12.     The Trustee submits that the fees and expenses requested hetein ate teasonable

compensation for the sewices provided to the Debtor's estate. The Trustee has not received any

potion of   his commission or expenses since the cofiìmencement of this case. No payments have

been made ot promised to the Trustee for sewices rendered or to be rendeted in any capacity in this

case. No agreement or understanding exists between the Trustee znd any othet person          fot sharing

of the compensation teceived or to be received in this    case.
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        ITHEREFORE, the Trustee requests that this application be approved by this Cowt and

that the Trustee be allowed the amount of   ff1,,477 .71 as   compensation for services rendered and

$112.08 for reimbursement of expenses.




                                               JOHN J. AQUINO, CHAPTER                   7   TRUSTEE


                                                         /s/ Tohn I. Aouino
                                                         æ
                                                         JohnJ, Aquino
                                                         Anderson Aquino LLP
                                                         240 Lewis SØharf
                                                         Boston, MA 02110
                                                         (617) 723-3600
                                                         ii   a(ò,andersonaq uino. com
Date:   Janaaty 29,201,9
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                                                     In re: Andre Bisasor
                                           Chapter 7 Case No. 15-13369-JNF
                        Itemized List of Services Rendered By Chapter 7 Trustee




                                                     Itemized List of Services

                                                                                               Rate   Hours
01t08t2016   JJA Receive and review petition, schedules,        statement of financial
                    affairs (,4); review of numerous pleadings filed in Chapter 13 case
                    in preparation for initial meeting of creditors (.6)                     300.00    1.00   300.00

01t11t2016   JJA    review attorney Baker's fee application and motion to withdraw as
                    counsel; review debtor's notice of intent to object to fee application   300.00    0.40   120.00

01t26t2016   JJA    receive and review amended schedules filed by debtor                     300.00    0.10    30.00

01t28t2016   JJA   Review email from debtor regarding purported settlement with
                   landlord; also requesting time to obtain successor counsel and
                   postpone 341 meeting                                                      300.00    0.10    30.00

01t29t2016   JJA   Lengthy telephone callwith debtor re Greystar settlement; explain
                   inability of debtor to settle pre-petition causes of action; discuss
                   numerous additional complications including spouse as additional
                   party to settlement, no individual counsel; request copy of draft
                   agreement; discuss debtor and spouse obtaining counsel to
                   navigate bankruptcy and non-bankruptcy issues; receive and
                   review draft settlement agreement from attorney Ashton, counsel
                   for Greystar                                                              300.00    1.00   300.00

             JJA Communications debtor regarding his assertion that draft
                   settlement does not contain additional revisions agreed to by
                   landlord; telephone con attorney Ashton to request clarification;
                   receive follow up emailfrom debtor re; "few additional tweeks" he
                   and spouse would like to make to agreement, in addition to
                   revisions not yet reflected in draft                                      300.00    0.30    90,00

02t26t2016   JJA   review email from debtor re revisions to settlement agreement;
                   requesting authority to proceed to settlement; still no luck obtaining
                   successor counsel; request second and final postponement of 341
                   meeting;                                                                  300.00    0.10    30.00

03125t2016   JJA   telephone con attorney Lev re filing notice of appearance on behalf
                   of debtor; discuss debtor's fundamental misunderstanding of
                   process, his role vs role of trustee; numerous extraneous matters;
                   explain that settlement has not been finalized due to delays in
                   spouse retaining counsel; set 341 date of 3129116                         300.00    0.50   150.00
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                                                                                              Rate       Hours

03t29t2016     JJA    Prepare for and conduct initial meeting of creditors and
                      examination of debtor under oath; continue meeting pending
                      receipt and review of document requested                               300.00       0.60       180.00

03t3012016     JJA    communications attorney Baker re status oT 34l meeting; respond
                      to inquiries from attorney Baker re potential assets listed on
                      schedules relation to claims against third parties; also discuss
                      assertion that debtor may seek to exempt full amount of Greystar
                      settlement utilizing 522(dX5) and (d)(11)(D)                           300.00       0.40       120.00

04t2512016    JJA     communications attorney Lev re continued 341 meeting; explain
                      that none of the documents requested at 3/29 meting have been
                      provided                                                               300.00       0.20       60.00

              JJA     receive and review objection to Baker's fee application filed by
                      debtor                                                                 300.00       0.10        30.00

04t2812016    JJA review transcription of 34l meeting                                        300.00       0.50       150.00

ost06t2016    iJA conference DFF re background of case;discuss         status of attorney
                      Baker fee app, debtor's objection to same and Baker reply, which
                      includes assertion of attorneys lien; discuss need to object to
                      attorneys lien assertion by attorney Baker                             300.00       0.50       150.00

05t09t2016    JJA     receive and review draft objection to Baker's attorney lien (.2);
                      make revisions to same relating to general dissatisfaction of Baker
                      as expressed by debtor as opposed to landlord matter
                      specifically(.2)                                                       300.00       0.40       120.00

06/06/2016    JJA     receive and review attorney Baker's response to limited objection to
                      fee application; confer DFF re same                                    300.00       0.20        60.00

07t29t2016    JJA     receive and review pleadings filed in state court by co-defendant in
                      Harvard University case; confer with DFF re decision not to pursue
                      claims and whether same should be abandoned                            300.00       0.30        90.00

o8t30t2016    JJA     Draft letter to case administrator requesting establishment of bar
                      date for filing of proofs of claim                                     300.00       0.10        30.00

1110912016    JJA     Office conference w/ DFF regarding complaint filed in state court by
                      debtor alleging numerous violations against multiple defendants;
                      discuss action in connection with same                                 300.00       0.40       120.00

              JJA Review statement regarding litigation claims of the debtor; confer
                      DFF regarding same and authorize filing                                300.00       0.30        90.00

01t12t2017    JJA     receive and review Urgent Email fro spouse of debtor requesting
                      update and speedy resolution of settlement approval from court;
                      confer DFF re same                                                     300.00       0.30        90.00
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         ln re: Andre Bisasor                                                                     Page No.           3


                                                                                                  Rate       Hours

02t27t2017      JJA    Communications attorney Lev regarding loss of consortium claim;
                       receive and review complaint filed in Norfolk County Superior Court
                       against 17 defendants; fonivard same to DFF for review and
                       comment                                                                  300.00        0.60       180.00

0310312017     JJA Review DFF's redraft of Greystar stipulation of settlement;      revise to
                       include counterclaims; discuss changes with DFF                          300.00        0.50       150.00

05t26t2017     JJA Review revisions to landlord agreement negotiated with Greystar
                       counseland confer DFF regarding same                                     300.00        0.20        60.00

07t26t2017     JJA     Receive and review final version of settlement agreement and draft
                       motion to approve stipulation; multiple comments to DFF                  300.00        0.50       150.00

07t27t2017     JJA     Review email thread regarding communications between debtor
                       and counsel for landlord; confer DFF regarding effect of same on
                       settlement                                                               300.00        0.20        60.00

08t30t2017     JJA     Confer DFF regarding settlement and payment of funds from
                       landlord                                                                 300.00        0.10        30.00

0813112017     JJA Receive settlement     funds; attention to opening of the state account;
                      see to depositing of same; update information regarding liquidation
                      of asset in TCMS program                                                  300.00        0.40       120.00

0912712017     JJA    Review Report of Mediation between debtor and attorney Baker              300.00        0.10       30.00

               JJA    Communications attorney Lev regarding confirmation of exemption
                      claim and payment of same                                                 300.00        0.10       30.00

10t06t2017     JJA Cut check in amount of $12,725 in payment of Bisasor exemption
                      in GreyStar settlement; draft transmittal letter; fonryard same           300.00        0.20       60.00

10t31t2017     JJA    Reconcile bank accounts in preparation for annual report on status
                      of cases for filing with US Trustee; review properties, remaining
                      assets, revise TCMS info; prepare report regarding activities
                      performed, list remaining tasks and estimated date of filing of final
                      account per US Trustee requirements                                       300.00        0.30       90.00

09t24t2018     JJA Telephone      callwith attorney Baker regarding his fee application.
                      Discuss dispute with debtor and pending resolution of adversary
                      proceeding; discuss prior assertion of attorney lien and current
                      analysis regarding sections 330, 503(b) and 507 of the Bankruptcy
                      Code; inform DFF regarding same                                           300.00       0.20        60.00

10t30t2018    JJA     Review case file; prepare status update for annual report to US
                      Trustee                                                                   300.00       0.30        90.00

11t05t2018    JJA     Receive and review Joint Motion by attorney Baker and debtor
                      resolving AP attorney fee issue                                           300.00       0.20        60.00
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        ln re:Andre Bisasor                                                                              Page No.              4

                                                                                                          Rate      Hours

1111912018    JJA    Confer DFF regarding filing of response to AP settlement to clarify
                     Chapter 7 estate responsibility for unpaid portion of fees; review
                     status of position to date from prior pleadings                                    300.00          0.40         120.00

1112312018    JJA    Confer DFF re Baker fee app status                                                 300.00          0.10          30.00

11t26t2018    JJA    receive and review draft response to join motion by attorney Baker
                     and debtor (.2) discuss same with DFF (,2)                                         300.00          0.40         120.00

12t28t2018    JJA    Receive and review amended fee application filed by attorney
                     Baker                                                                              300.00          0.10          30.00

01t28t2019    JJA    Reconcile bank statements; amend properties in TCMS system to
                     reflect full administration of all assets; add claims of professionals
                     to TCMS database; draft FinalAccount Before Distribution,
                     including all exhibits; prepare for filing with US trustee                         300.00          2.00        600.00

              JJA    Draft fee application of Chapter 7 trustee                                         300.00          0.50        150.00

              JJA    Future Services, including revising FinalAccount Before
                     Distribution, if requested by US Trustee; responding to creditor
                     inquiries pending approval of FinalAccount; appearance at hearing
                     on FinalAccount; distributions to creditors; final reconciliations of
                     bank statements; preparation of Final Account After Dist, Form 4
                     for US Trustee, attend to case closing matters                                     300.00          2.00        600.00
                     Sub-Total                                                                                      17.20          5,160.00

                                                     Summary By Timekeeper
               Timekeeper                                                 Hours                  Rate           Total
               JJA (trustee)                                               17.20              $300.00      $5,160.00



                     Balance Due                                                                                               $5,160.00
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                                        Chapter 7 Case No. 15-13369-JNF
                      Itemized List of Un-Reimbursed Expenses Incurred By Chapter 7 Trustee




                                                        Expenses

03t31t2016        Lexis Research charges for the time period March 1,2016 - March 31, 2016.                     20.92
05t31t2016        Lexis Research for the period May 1, 2016 through May 31,2016                                  5,78
11t09t2016        Photocopies to serve the Statement of the Trustee and the Notice of lntent to
                  Abandon Alleged Claims by the Chapter 7 Trustee.                                              21.15
11t09t2016        Postage to serve the Statement of the Trustee and the Notice of lntent to Abandon
                  Alleged Claims by the Chapter 7 Trustee.                                                      22.32
07t27t2017        Photocopies to serve the Chapter 7 Trustees Motion for Entry of Order Approving
                  Stipulation Agreement.                                                                        19.80
07t27t2017        Postage to serve the Chapter 7 Trustees Motion for Entry of Order Approving
                  Stipulation Agreement.                                                                        15.40
07t28t2017        Photocopies to serve the Notice of Non-evidentiary hearing.                                    1.65
07128t2017        Postage to serve the Notice of Non-evidentiary hearing.                                        5,06
                  Total Expenses                                                                               112.08


                  Balance Due                                                                                 $112.08
